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       In the United States Court of Federal Claims
                                           No. 10-628C

                                    (Filed: September 17, 2010)
                                            __________
ENTERPRISE SOLUTION REALIZED,
INC.,

                       Plaintiff,

        v.

THE UNITED STATES,

                       Defendant.

                                            _________

                                             ORDER
                                            _________

       A telephonic status conference will be held in this case on Monday, September 20, 2010, at
2:00 p.m. (EDT). Chambers will contact the parties shortly before the scheduled conference time.

       IT IS SO ORDERED.



                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
